                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:12-00177
                                                   )      JUDGE CAMPBELL
BRANDON DEYONTAE PIPER                             )

                                           ORDER

       Pending before the Court is a Motion to Continue Sentencing Hearing (Docket No. 115). The

Motion is GRANTED.

       The sentencing hearing currently scheduled for October 8, 2013, is RESCHEDULED for

November 7, 2013, at 9:00 a.m.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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